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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       )
                                     )  Criminal No. 05-443 (RCL)
YURI MONTGOMERY,                     )
                                     )
            Defendant.               )
____________________________________)

                                             ORDER

        Upon consideration of Defendant’s Motion to Approve Travel, and any opposition

thereto, it is hereby

        ORDERED, that the defendant’s Motion is hereby GRANTED; it is further

        ORDERED, that the United States government shall return the defendant’s United States

passport to the defendant no later than September 7, 2006, at 5:00 p.m.; it is further

        ORDERED, that the defendant shall surrender his United States passport to the United

States government within twenty-four hours of returning from his trip to Macedonia, which shall

occur no later than September 21, 2006, at 5:00 p.m.; it is further

        ORDERED, that the defendant shall be permitted to travel from the United States to

Macedonia between September 7, 2006 at the earliest, and shall return to the United States, at the

latest, by September 21, 2006.



        SO ORDERED.

        Signed by Royce C. Lamberth, United States District Judge, September 5, 2006.



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